                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

MEMPHIS CENTER FOR                                )
REPRODUCTIVE HEALTH, et al.,                      )
                                                  )
     Plaintiffs,                                  )
                                                  )          NO. 3:20-cv-00501
v.                                                )
                                                  )          JUDGE CAMPBELL
HERBERT H. SLATERY, et al.,                       )          MAGISTRATE JUDGE FRENSLEY
                                                  )
     Defendants.                                  )

                                             ORDER

         Pending before the Court is the Parties’ Joint Notification Regarding Preliminary

 Injunction Hearing (Doc. No. 39). Through the filing, the parties state they have jointly agreed to

 submit the Plaintiffs’ Motion for Preliminary Injunction to the Court based on the filings.

 Accordingly, the preliminary injunction hearing set for July 24, 2020 is CANCELLED.

         It is so ORDERED.

                                                      ____________________________________
                                                      WILLIAM L. CAMPBELL, JR.
                                                      UNITED STATES DISTRICT JUDGE




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